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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:06-cr-00038-MP-AK

JOHN MICHAEL LOWRY,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Mr. Lowry’s motion to continue sentencing to gather

medical expert witness testimony. The motion is granted, and sentencing is hereby reset for

Friday, March 21, 2008, at 9:30 a.m.


       DONE AND ORDERED this 21st day of February, 2008


                                       s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
